 

Case 1-16-40104-nh|

\

Fill in this information to identify your case:

United States Bankruptcy Court for the:

Eastem District of New York

Case number (irkno'wn); 16-

 

DOC 1 Filed 01/11/16

Chapter you are filing under: _
13 chapter 7 f
El chapter 11

Chapter 12

Chapter 13'

 

Ochial Form 101

 

Voluntary Petition for lndividl'.l`als Filing for Bankruptcy

Ent€red"O'l/ll/J_G 12230:19

C'ERK

;S,SB“L’!F…MY CQU

i“-j<.~ DiSii<iCr
f§{ :\_Ii' iYURH OF

_’C

lziii iii ii Diz ,5,

R E 6 &LM@PS anv

amended

12/15

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor fi_lihg alone. A married couple may file a bankruptcy case together_called a

` joint case-and' ln joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,"
-the answer would be yes if either debtor owns a car. When infonnation' is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The

same person must be Debtor 1` in all of the forms.

j Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct `
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

m ldentify Yourself

 

 

 

 

with the trustee.

About Debtor1: About Debtor 2 (Spouse Only in a Joint;(;ase):

1. Your full name ` f `

Write the name that is on your Aixa

govemment-issued picture , t

identification.(for examp|e, F"St name F"St name

your drivers license or

passpor[). Middle name Middle name

Bring your picture Mu'r

identification to your meeting Lan name Last name

Suffix (Sr., Jr., ll, l|l)

Suffix (Sr., Jr., l|, |l|)

 

2. AII other names you

 

have used `in the last 8

 

 

 

 

 

 

 

(lTiN)

First name First name
years
|nc|ude your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. On|y the last 4 digits of
yourSocialSecur_i_ty' xxx _”_'_S_OL~S_ xx_?‘ -_-xx__-,_N__
number or federal -il` oR oié ’ 3
Individual Taxpayer 4 1
identification number 9 Xx _ Xx _ 9 Xx "~ Xx _

 

 

 

Ofticial Form 101

Vo|untary Petition for individuals Filing for Bankruptcy

page 1

 

 

 

4. Any business names
and Emp|oyer
identification Numbers
(ElN) you have used in
the last 8 years

lnc|ude trade names and
doing business as names

n | have not used any business names or Ele.v

Ludlow Barrow Assoc

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12:30:19
Debtor1 Aixa v Muir Case number (irkmwn) 16"
1About Debtor 1: ,

About Debtor 2 (Spouse Only in a Joint Case):

' n l have not used any business names or Ele.

 

Business name

Business name

 

Business name

EN_

H_‘

Business name

'E_lri_

H_

 

5. Where you live

1192 Bushwick Avenue

l - lf Debtor 2 lives at a different address:

 

 

 

 

 

 

Number Street Number Street

Brooklyn NY 1,1221‘

City State ZlP Code City State ZlP Code
lGngs

County County

lf your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

|f Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

this district to file for
bankruptcy

 

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

n l have another reason. Explain.
(See 23 u.s.c. § 1408.)

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZlP Code City State ZlP Code
G. Why you are choosing Check one: Check one:

n Over the last 180 days before filing this petition,
l have lived in this district_longer than in any
other district.

n l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Oflicial Form 101

 

Vo|untary Petition for lndivid%ls Filing for Bankruptcy

page 2

 

 

C§Se 1-16-40104-nh| DOC 1 Filed Ol/ll/;|_G Entered 01/11/16 12230:19

Debtor 1 AiXa

First Name Midd]e Name

Muir Case number (irknown) 1 6"

Last Name

m Tell the Court About Your Bankruptcy Case

 

_l 7. The chapter of the

3 Bankruptcy Code you

4 are choosing to file
under

r

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing §
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

l;l Chapter 7
l;l Chapter 11

lZl chapter 12

m Chapter 13

 

" a. How you will pay the fee

w lwi|l pay the entire fee when l file my petition. Please check with the clerk’s office in your

local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier`s check, or money order_ lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

l;l l need to pay the fee in installments. lf you choose this option, sign and attach the
Application for Individuals to`Pay The Filing Fee in lnstallments (Official Form 103A).

l;l l request that my fee .be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Officia| Form 103B) and file it with your petition,

 

 

 

 

 

 

 

 

 

 

§ 9. Have you filed for [] No . -'
§ bankruptcy within the f
3 last 8 years._, g Yes_ Dism.ct EDNY When 10/21/2015 Case number 14-45297-nhl §
§ ' MM/ DD/¥YYY §
l District When Case number

MM/ DD/¥YYY

District When Case number

MM/ DD/¥YYY
g 10. Are any bankruptcy No
_ cases pending or being §
§` filed by a spouse who is n Yes. Debtor Relationship to you :
lj not mmg th|s ca_se with District When Case number, `rf known
§ y0|.l, 0|' by a buslne$$' MM/DD /YYYY ,
71 partner, or by an .§
affiliate?
Debtor Relationship to you
: District When Case number, if known

MM /DD/¥YYY
~i 11- D0 _you rent your El No. Go to line 12.

res'dence? l;l Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your

Official Form 101

residence?

[;l No. Go to line 12.

[;l Yes. Fill out Initial Statement About an Eviction Judgment Against You (l?onn 101A) and file it with
this bankruptcy petition. ' -- '

 

Vo|untary Petition for |ndividuals Filing for Bankmptcy . page 3

 

Report About Any Businesses You Own as a Soie Froprietor '

Debtor 1

Case 1-16-40104-nhl

Aixa

Fiist Name

Middle Name

Muir

Last Name

DOC. 1 Filed 01/11/16

Elit€red 01/11/16 12230:19

Case number (iriqiown)1 6`

 

12 Are you a sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

No. Go to Part 4.

El Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

city

Check the appropriate box to describe your business:

Sfafe

n Health Care Business (as defined in 11 U_S.C. § 101(27A))
n Sing|e Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

n Stockbroker (as defined in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. § 101(6))

n None of the above

ZlP Code

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

i
l

13. Are you filing under

Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor’?

For a dehnition of small

business debtorl see
11 U.S.C. § 101(51D).

If you are filing under Chapter 11, the coun‘ must know whether you are a small business debtor so that it
can set appropriate deadlines. lf you indicate that you are a small business debtor, you must attach your

most recent balance sheet, statement of operations, cash-fiow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Zl No. iam not filing under chapter11.

n No.
the Bankruptcy Code.

l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in

n Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the

Bankruptcy Code.

1

 

14 Do you own or have any

property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own l

perishable goods, or livestock

that must be fed, or a building
that needs urgent repairs?

Official Form 101

m No
El Yes. Whai is the hazard?

lf immediate attention is needed, why is it needed?

Where is the property?

 

 

 

 

 

Number

r.

1'

` Street

'-`:i \

`\

 

city

Vo|untary Petition for individuals Filing for Bankruptcy

State

ZlP Code

page 4

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entel’ed 01/11/16 12230219

Debtor 1 AiXa

Flrst Name Middle Name

Muir Case number (irlaiswn) 1 6-

Lasf Name

l

W Explain Your Efforts to Receive a Briefing About Credit Counseling

 

3 15. Tell the court whether

’ you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must `
truthfully check one of the
following choices. lf you
cannot do so, you are not
eligible to file.

lf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

w l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion. `

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

n l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,

you MUST file a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary w_aiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to tile this case,

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, yo'u must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about

credit counseling because of:

n lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

n Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

ij Active duty. l am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court. ‘

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

n l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

m l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, butl do not have a
certificate of completion. ‘

Within 14 days after you file this bankruptcy petition, j
you MUST file a copy of the certificate and payment
plan, if any. .

n l certify that l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for banknlptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must tile a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed.

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about

credit counseling because of:

n lncapacity. l have a mental illness or a mental '.
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disability. lvly physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after l
reasonably tried to do so.

m Active\dlu,ty_ l am currently on active military
»iiiq duty in a military combat zone.
lf you believe` you are not required to receive a

briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court. ,

Vo|untary Petition for individuals Filing for Bankruptcy page 5

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entel’ed 01/11/16 12230219

Debtor 1 Aixa MUI r

Flrsf Name Middle Name Lasl Name

Case number (irlmown) 1 6*

m Answer These Questions for Reporting Purposes

 

is what kind of debts do
` you have?

isa. Are your debts primarily consumer debts? consumer debts are delined in 11 u.s.c. § 101(8)
as "incurred by an individual primarily for a personal, family, or household purpose.“

a No. Go to line 16b.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

El No. Go to line 16c.
El Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

11. Are you filing under
` Chapter 7?

Do you estimate that after
any exempt property is

E No. lam not liling under chapter 7. Go to line 18.

m Yes. | am filing under Chapter 7. Do you estimate that after any exempt property' ls excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and [| No
administrative expenses
3 are paid that funds will be 9 YeS
§ available for distribution
‘ to unsecured creditors?
1 1s. How many creditors do El 149 El 1,000-5,000 U 25,001-50,000
' you estimate fhafy°u El 50-99 El 5,001-10,000 U 50,001-100,000
°W°? Cl 100-199 Cl 10,001-25,000 [J lvlore than 100,000
Cl 200-999
El $0-$50,000 El $1,0'00,001-$10 million El $500,000,001~$1 billion '

` 19. How much do you
j estimate your assets to
be worth?

Cl $50,001-$100,000
El $100,001$500,000
Ef $500,001-$1 million

El $10,000,001$50 million
El $50,000,001_$100 million
El $100,000,001$500 million

U $1,000,000,001$10 billion
El $10,000,000,001-$50 billion
El lvlore than $50 billion

 

f 20. How much do you
' estimate your liabilities

|Zl $0-$50,000
El $50,001$100,000

El $1,000,001~$10 million
El $10,000,001-$50 million

El $500,000,001~$1 billion
El $1,000.000,001-$10 billion

 

to be? \:l $100,001-$500,000 \:l $50,000,001-$100 million \:l $10,000,000,001-$50 billion
Ef $500,001-$1 million El $100,000,001-$500 million El lvlore than $50 billion l
Sign Below
‘ l have examined this petition, and l declare under penalty of perjury that the information provided is true and
1 For you correct.

 

Official Form 101

lf| have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief' ln aclc/:ord nce with the chapter of title 11, United States Code, specified' ln this petition,

l understand making a alse sta ment, concealing property, or obtaining money or property by fraud` ln connection
with a bankruptcy cas can res lt` ln fines up to $250, 000, or imprisonment for up to 20 years, or both.
18 U. S. C. §§ 15_2, 13 1, 1519 and 3571.

 

 

Vo|untary Petition for |ndividuals Filing for Bankruptcy

 

__;;‘_.,-s "‘."l.‘.s-».' »`-.`.‘.Z‘.‘_."..'ifr'_.'-:~“,"_ ";."__.;`;' -5.1': .';`;’.'_...-_ _. s ..; ._.1’». `_`_.`_'L.. 13

Signature of Debtor 2

Executed on '

MM/ DD /YYYY

page 6

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entel’ed 01/11/16 12230:19

 

Debtor 1 AiXa Muir Case number (lrlmown) 1 6-

Flrsf Name Middle Name Last Name

_,.,_..._.,~,._..._. ,-_-,...NM,..__,..._ .,. _,_ __..., ,___.,.\.,u .. ..~ _..s.._ _...._...

 

,. . »»M,._.... , `..T T, .__...,.._ -`<..3

|, the attorney for the debtor(s) named in - is petition, declare that l have informed the debtor(s) about eligibility

to proceed under Chapter 7,11,1 , r 13 of title 113 United States Code, and have explained the relief ;
~ . c which the person is eligible. l also certify that l have delivered to the debtor(s) §

. .C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no `

hat the information in the schedules med with the petition is incorrect. §

i For your attorney, if you are
represented by one

  
 
  

 

1 lf you are not represented
; by an attomey, you do not

5 need to file this page.
` Date

sign\aWWbtor ' lvllvl / DD /YYvY

`l{ulol/_l/ui€§

inted name

MMMU ’@@
swift vt

;"fkseh§?
@rooMUl/\ N\f lli/)/b

state l zlP code

 

 

contact phone 54"\' '%Li' ' %LH>
4b1 1501

Bmlmber

 

 

 

1 ~ ' ~~ '\~ n ~~- - ~ ~ » ~‘ ~ - ' ‘ ~ ~r »- ,:.'1. h;.;.'_.~.;~_.__.' _-' -_.~e:._s,.' .a.a_'.~_.-.,'\_..a~ a.. .....»..Me..~_._...‘,.s..;..-e.\./.~s,';‘=.at,atf},;;.‘sil`:.».)¢,t.§

Official Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 7

 

 

 

Case 1-16-40104-nh| DOC 1 Fi|€d 01/11/116 Ent€l’ed 01/11/16 12230:19

Fill in this information to identify your case:

Debtor 1 Aixa Muir
Fllsl Name Middle Name Last Name

 

D ebtor 2
(SpUUSe, if filing) Flrsf Name Middle Name Last Name

 

United States Bankruptcy Court for the: Eastem District of New York

Case number 16' 1 j f m Check if this iS an
‘" ""°W"’ 7 amended filing

 

Official Form 1068um , 4 4
Summary of Your Assets and Li"abilities and Certain Statistical lnforma_tion 12/15

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. _Schedule A/B.' Property (Oflicial Form 106AlB) 4 1 1
‘ 1a. Copy line 55, Total real estate, from Schedule A/B $q 2 5 501

‘ i
1b. Copy line 62, Total personal property, from'Schedu/e A/B $ Ll q 4b . qq/
' i

. v ' i
1c. Copy line 63, Total of all property on Schedule A/B §§ §§ § ,
- summarize Your Liabilities

 

 

 

 

Your liabilities
Amount you owe `

2. Schedule D: Creditors Who Have Claims Secured by Property (Oflicial Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ w
3. Schedule E/F: Creditors Who Have Unsecured Claims (Oflicial Form 106ElF) 0 00

3a_ Copy the total claims from Part 1 (priority unsecured claims) from line 6c of Schedule E/F ............................................ $ _`

3b. Copy the total claims from Part 2 (nonpn'ority unsecured claims) from line 6j of Schedule E/F ....................................... + $ 27’126_00

 

Your total liabilities 1 s 952.594-18

 

 

 

m Summarize Your lncome and Expenses

4. Schedule I: Yourlncome (Oflicial Form 106|)

 

 

Copy your combined monthly income from line 12 of Schedule ll l q $ M_O_
f 11 ,
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J $ 5'843'54

 

Official Form 1063um Summary of Your Assets and Liabilities and Certain Statistical |nfom\ation ` page 1 of 2

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entel’ed 61/11/16 12230:19

Debtor 1 Aixa Muir ’ Case nu
Firsl Name Middle Name Last Name

 

l

Part 4: Answer These Questions for Administrative and Statistical Records

mber (irknown) 16`

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

mYes `

n No. You have nothing to report on this part of the forrn. Check this box and submit this form to the court with your other schedules.

 

7. What kind of debt do you have?

this form to the court with your other schedules.

w Your debts are primarily consumer debts. Consumer debts are those "incuned by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101 (8). Fill out lines B-Qg for statistical purposes. 28 U.S.C. § 159.

n Your debts are not primarily consumer debts. You have nothing to report on this part of the forrn. Check this box and submit

 

 

 

 

 

 

 

 

 

 

 

 

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official :
Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14. $ 6,500.00 3
_ 5
§
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
Frorn Part 4 on schedule E/r-', copy the following:

Qa. Domestic support obligations (Copy line 6a.) $__M
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) $_J §
l
9c. Claims for death or personal injury while you were intoxicated. (Copy line 60.) $__(MO_
sd. student loans. (copy line sf.) $_O-OO
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ O_OO
priority claims. (Copy line 69.) _ 1
1
§ 9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)` + $ O-OO 1
1 1
99. Total. Add lines 9a through 9f. s O-OO 1
1 :

.'1;|'.5['
Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

 

 

Case 1-16-40104-nh|

Doc _1 l F`lled 0,1,/_1.1/16

Fill in this information to identify your case and this filing:

Debtor 1

Debtor 2

Aixa

Muir

 

First Name

Middle Name

Last Name

 

(Spouse. if filing) Flrsl Name

Middle Name

Last Name

United States Banknlptcy Court for the: Eastem District of New York

Case number

16-

 

 

 

thcial Form 106A/B

 

Schedule AlB: Property

.l,v

Ent€l’ed 01/11/16 12230:19

El cheek if this is an

amended filing

12l15

ln each category, separately list and describe items. List an asset only once. ;lf an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally
responsible for supplying correct infonnation. lf more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,
write your name and case number (if known). Answer every question. -

m Describe Each Residence, Building, Land,`or Other Real Est'ate' You Own or Have an lnterest ln

l

1

 

 

m No. Go to Part 2.

m Yes. Where is the property?

1.1.

1192 Bushwick Avenue

 

Street address, if available, or other description

 

 

 

Brooklyn NY 1 1221
City State ZlP Code
Kings

County

lf you own or have more than one, list here:

1.2_

10203 21 Sth Street

 

Street address, if available, or other description

 

 

 

Jamaica NY 1 1206
city stale zlP code
Queens

County

, Official Form 106AlB

§ 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

what is the property? check all that apply.
m Single-family home

w Duplex or multi-unit building

m Condominium or cooperative

Current value of the Current value of the

_ Do not deduct secured claims or exemptions P.ut
the amount of any secured claims on Schedule D:
Credifors Who Have Clairns Secured by Property.

i

 

m Manufactured or mobile home entire property? portion you own?
Cl Land $ 581 ,000.00 $ 581 ,000.00
m investment property

C| -nm‘eshare ; Describe the nature of your ownership

m Other

 

Who has an interest in the property? Check one.

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known. §

 

, Fee Simple
w Debtor 1_ on_ly '
El Debtor 2 only

m Debtorf and Debtor2 only ,

n At least one of the debtors and another

Other i'nfonnation you wish to add about this item, such as local
property identification number: BBL 3- 3380-003€)

(see lnstructions)

What is the property? Check all that apply.
n Single-family home
n Duplex or multi-unit building

l:l Check if this is community property

`Do not deduct secured.claims or exemptions'.' Put
the amount of any secured claims on Schedule D:
Credifors Who Have Claims Secured by Property.

m Condominium or cooperative

Current value of the Cunent value of the

 

Cl Manufactured or mobile home entire property? portion you own? 1

El Land $ 383,547.00 $ 191 ,773.501

n lnvestment property §

n Tlmeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by

m Other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one. JQ'|DI IQ]]a|:|I§ §

n Debtorf only l
m Debtor 2 only

n Debtor 1 and Debtor 2 only
w At least one of the debtors and another (See instructiOnS)

Other information you wish to add about this item, such as local _
property identification number: 'A

  
 

Schedule AlB: Property

l:l Check if this is community property

 

Case 1-16-40104-nh| DOC 1 v Fi|€d 01/11/16 Elii€l’ed 01/11/16 12230:19

 

 

Debtor 1 Aixa Muir Case number (irlmown) 1 6'
Flrst Name Middle Name Last Name
what |5 the Property? Check all that alf’Pl)'- Do not deduct secured claims or exemptions. Put
1 3 cl S1ngle_fam1|y home the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property

 

. Street address, it available, or other description cl Duplex or multi-unit building L w _ __ _ _ _

[] Condom1n1um or cooperat1ve (iurrent value of the Current value of the ,;

 

 

 

 

 

 

, ent' re ro rty? "

.~ n Manufactured or mobile home l p pe p°m°n you own

1 Cl Land $ $

1 n lnvestment properly

City State zlP Code cl nmeshare Pescribe the nature of_your ownership

1 n interest (such as fee slmple, tenancy by

' Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

§ n Debtor1 only

_ County

cl Debtor 2 only
Cl Debtor1 and Debtorz only
n At least one of the debtors and another

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from_ Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... 9

lil¢t§.§o

 

 

 

 

l

Mscribe Your Vehicles

1 t
5 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles

§ you own that someone else drives. |f you lease a vehicle, also report it on Schedule G: Executory Contlacts and Unexpired Leases.

1 3. (iarsl vans, trucks, tractors, sport utility vehicles, motorcycles z

"' m No
n Yes

Make:
Model:

3_1.

Yean
Approximate mileage:

Other information:

 

 

 

 

lf you own or have more than one, describe here:

Make:
Model:

3.2.

Year:
Approximate mileage:

Other infomlation:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest' ln the property? Check one_

El Debtor1 only

n Debtor 2 only

Cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Schedule AfB: Property

Do not deduct secured claims or exemptions. Put _
the amount of any secured claims on Schedule D: 1
Creditors Who Have Claims Secured by Property.

(iurrent value of the Current value of the §
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D: §
Creditors Who Hal_/e Claims Secured by Property.

Current value of the Current value of the .
entire property? portion you own?

page 2

 

Case 1-16-40104-nh|

Aixa §

 

Who has an interest' ln the property? Check one.

Debtor1 Muir
Flrsl Name Middle Name Last Name
3_3_ Make:
Model: n Debtor 1 only
n Debtor 2 only
Year:

§ 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Approximate mileage:

Other information:

n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

 

 

n Check if this is community property (see
instructions)

 

 

Make:
Model:

3.4.

Year:
Approximate mileage:

Other information:

Who has an interest in the property? Check one.

n Debtor 1 onty

n Debtor 2 only

1;| Debtor1 and Debtor 2 only

n At least one of the debtors and another

 

 

n Check if this is community property (see
instructions)

 

 

DOC 1 Filed 01/11/16 Entel’ed 01/11/16 12230:19

Case number (immwnl 16'

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the '
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Pmperty.

Current value of the.§
portion you own?

Current value of the
entire property?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, iishing vessels, snowmobiles, motorcycle accessories

mNo

El Yes

4_1_ Make:
Model:
Year:

Other information:

Who has an interest in the property? Check one.

n Debtor1 only

13 Debtor 2 only

13 Debtor1 and Debtor 2 only

13 At least one of the debtors and another

 

 

n Check if this is community property (see
instructions)

 

 

lf you own or have more than one, list here:

Make:
Model:

4.2.

Year:

Other information:

Who has an interest in the property? Check one.

El Debtor1 only

1;| Debtorz only

n Debtor1 and Debtor 2 only

13 At least one of the debtors and another

 

 

n Check if this is community property (see
instructions)

 

 

Official Form 106A/B

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

a _~a_t.»=, ._-_»._ . ns '_»t s

Current value of the Current value of the §
entire property? portion you own?

 

Schedule AlB: Property

 

page 3

 

 

Case 1-'16-40104-nh| Doc 1 Filed Ol/lITTU' Entered 01/11/16 12:30:19

Debtor 1 A§Xa Mulr Case number (irlmown) 16'
Flrst Name Middle Name Last Name ’

 

 

Describe Your Personal and Household ltems

 

Current value of the
portion you own? 1
Do not deduct secured claims

, Do you own or have any legal or equitable interest in any of the following items? ,'

»

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘. or exemptions §
1 6. Household goods and furnishings
§ Examples: Major appliances, fumiture, linens, china, kitchenware
El No 1
§ m YeS- Describe --------- Miscellaneous, used household goods and furnishings $ 2,000-00
7. Electronics _
§ Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers printers, scanners; music
1 collections; electronic devices including cell phones, cameras, media players, games z
: §;l No
§ m Yes- Describe ---------- Used television, radio, computer, printer, camera and cell phone $ 1,000-00 1
8. Collectibles of value 1
§ Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; §
j . stamp, coin, or baseball card collections; other collections memorabilia, collectibles
; El No 1
il Yes. Describe .......... Used books $ wp_ 00 j
9. Equipment for sports and hobbies
§ Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes 1
§ and kayaks; carpentry tools; musical instruments 1
m No .
n Yes. Describe .......... $ _i
10. Fireanns §
Examples: Pistols, n'tles, shotguns, ammunition, and related equipment
i, m No 1
j §;l Yes. Describe .......... $
§ 11. clothes
§ Examples: Everyday clothes, furs, leather coats, designer wearl shoes, accessories
1 a NO ‘_
’ m YeS- Describe ---------- Everyday clothing and work suits $ 1.000-00 §
12.Jewelry y
§ Examples: Everyday jewelry, costume jewelry, engagement n'ngs, wedding rings, heirloom jewelry, watches, gems, '
l go|d, silver
n N° lo 00
` ........... . 0 . §
m Yes' Desc"be Evervdav lewelrv. womens watch $___ §
§ 13.Non-farm animals §
Examples: Dogs, cats, birds, horses `;
m No
` n Yes. Describe ........... $
’ 14.Any other personal and household items you did not already |ist, including any health aids you did not list
§ m No
‘_ n Yes. Give specihc $ '
1 inforrnation. ..............
j 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ /_`| 1 0 _o 0
z for Part 3. Write that number here -)
! .__ _,__ . _____ ___________ ______ __ ____ __.___._ .._. ______ ___ _ ______ _______ ___ ____ _____________ _ __._ _. _________ __ ________ _________ __ ________`____ ___ _
Official Form 106AlB Schedule AlB: Property page 4

 

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230:19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

Debtor1 Aixa Muir Case number (rrknnwn) 16'
Frrsl Name Middle Name Last Name

Describe Your Financial Assets '

Do you own or`have any legal or equitable interest in any of the following? ` 1 ` Current value of the

: 1 portion you own? .'
Do not deduct secured claims §

. or exemptions. ‘

` 16. Cash . 1

: Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

n No '1

m Yes east _______________________ $ 20.00 §

1 17.Deposits of money

§ Examples: Checking, savings, or other financial accounts; certificates of deposit shares in credit unions, brokerage houses,

§ and other similar institutions. lf you have multiple accounts with the same institution, list each. 1

1 cl No

m Yes ..................... lnstitution name:

17_1. Checking account Citibank $ 725'73 §

1 z

17.2. Checking account $ §

17.3. Savings account Cltibank $ 0'69

1 17.4. Savings account: $

17.5. Certihcates of deposit $

§ 17.6. Other financial account $

17.7. Other financial account $

1 17.8. Other financial account $ §

17.9. Other financial account $

1 18. Bonds, mutual funds, or publicly traded stocks

§ Examples: Bond funds, investment accounts with brokerage firrns, money market accounts

1 m No :`

f cl Yes_.._ institution or issuer name: 1

§

1 19. Non-public|y traded stock and interests in incorporated and unincorporated businesses, including an interest in

an LLC, partnership, and joint venture

f cl No Name of entity: % of ownership:

'1 m ¥es. Give specific Ludlow Barrett Associates LLC 1001%§" % $

information about 0% '\_, ____ 1

them % 1

: 0% ` "\ %

 

Official Form 106AlB Schedule AlB: Pr;/pperty page 5

 

i

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entei’ed 01/11/16'1'27230219

Debtor 1 Aixa

Hrst Name

MUll` Case number (i!lmawn) 16'

Middle Name Last Name

20. Govemment and corporate bonds and other negotiable and non-negotiable instruments

1

them ....................... $
$
$
21. Retirement or pension accounts
Examples: interests in lRA, ERiSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
m No
El Yes. List each
account separateiy. Type of account institution name:
401(k) or similar plan: $
Pension pian: $
lRA: $
Retirement account $
Keogh: $
Additionai account $
Additiona| account $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electn`c, gas, water), telecommunications
companies, or others
m No
L_.l Yes .......................... institution name or individua|:
Eiectric: $
Gas: $
Heating oii: $
Secun'ty deposit on rental unit $
Prepaid rent $
Teiephone: $
Water: $
Rented fumiture: $
Other. y $
23.Annuities (A contract for a periodic payment of money to you, either for iife or for a number of years)
m No
U Yes .......................... issuer name and description:
$
, $
$

 

Negotiable instmments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable instmments are those you cannot transfer to someone by signing or delivering them.

mNo

m Yes. Give specific

information about

Official Form 106AlB

issuer name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule AlB: Property

page 6

 

 

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entel’ed 01/11/16 12230219

Debtor 1 Alxa Mu|r Case number (rrlrrrawrr) 16'

Hrsf Name Middle Name Last Name _

§ 24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
d m No

n Yes """"""""""""""""""" institution name and description. Separate|y file the records of any interests.‘l‘l U.S.C. § 521 (c):

 

 

 

§ 25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
l exercisable for your benefit

.No

§ n Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lntemet domain names, websites, proceeds from royalties and licensing agreements

mNo

n Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles _
Examples: Buiiding permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

 

 

 

 

m No

f n Yes. Give specific

§ information about them.... $

3 Money or Property owed w y°u? ‘ current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28.Tax refunds owed to you

mNo

El Yes. Give specific information
about them, including whether
you already filed the returns S_tate:

r and the tax years. .......................

 

Federa|:

Looli:

 

 

 

,' 29. Family support _ 4
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

mNo

 

 

 

 

 

 

 

n Yes. Give specific information ..............
§ Alimony: $
§ Maintenance: $
§ Support: $
1 Divorce settlement $
Property settlement $
'; l
§ 30. Other amounts someone owes you '

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
§ Sociai Security benefits; unpaid loans you made to someone else
: m No

n Yes. Give specific information ...............

$

 

 

 

Official Form 106AlB Schedule AlB: Property page 7

 

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 'Entel’ed 01/11/16 12230:19

Debtor 1 Aixa M Uil'

Case number (lzlmowrr) 16'
Flrst Name Middle Name Last Name

 

 

31 lnterests' rn insurance policies '
Examples: Health, dlsablllty, or ilfe lnsurance health savings account (HSA) credit, homeowner’s, or renter’s lnsurance

mNo

§ cl Yes' Name the msuran°e °°mpany Company name: Beneficiary: Surrender or refund value:

of each policy and list its value.

69

32. Any interest in property that is due you from someone who has died

lf you are the beneficiary of a living trust, expect proceeds from a iife' lnsurance policy, or are currently entitled to receive
property because someone has died

mNo

§ El Yes. Give specific information ..............

 

 

 

 

§ 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples§' Accidents, employment disputes, insurance claims, or rights to sue

mNo

n Yes. Describe each ciaim. ....................

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

mNo

n Yes. Describe each claim. ..........

 

 

 

 

 

§ 35_Any financial assets you did not already list
§ m No

n Yes. Give specific information ............ $

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached q L{q/
l, for Part 4. Write that number here -) s l k v

 

 

 

 

wscdbe Any Business-Related Property You own or Have an interest ln. List any real estate in Part 1.

i

§ 37. Do you own or have any legal or equitable interest in any business-related property?
1 El No. Go to Part 6.
1 n Yes. Go to line 38.

 

Current value of the
portion you own?

Do not deduct secured claims ;
or exemptions4 ,

38.Accounts receivable or commissions you already earned

mNo

3
l
l
l
l
f
§
§ n Yes. Describe .......
l
l
t
l

 

"'6~>

 

 

j 39. Office equipment, fumishings, and supplies
Examples: Business-related oomputers. software, modems, printers, oopiers, fax machines, rugsl telephones, desks, chairs, electronic devices

m No
n Yes. Describe ....... s

 

 

 

 

Official Form 106AlB Schedule AlB: Property page 8

 

 

CaSe 1-16-40104-nh| DOC 1 Filed 01/11/16 Entel’ed 01/11/16 12230:19

Debtor1 A'Xa Muir § Case number (imiown) 16'
Hrst Name Middle Name Last Name

 

l

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

i;lNo §

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

w Yes. Describe ....... j 1
Business-related computer, software, printer/copier/fax, phone, desk, chair §$___2’_0M§
l ' '.'. §
41. inventory
m No ' §
i . § i
§ n Yes. Descnbe ....... ~ . d §
§ i
42. interests in partnerships or joint ventures
j w No
; n Yes' Describe """" Name of entity: % of ownership:

5 ` % $
% $ 3
% $_____§
43. Customer lists, mailing |ists, or other compilations
l m No §
El Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))? j
§ n No "
l:l Yes. Describe ........ § §
i $ I
i l ;
§ 44.Any business-related property you did not already list
m No ' .'
i:l Yes. Give specific $
information .........
$
$
: s §
$ §
. $ c

 

 

’ 45. Add the dollar value of ali of your entries from Part 5, including any entries for pages you have attached $ 2 @Q DQ
§ for Part 5. Write that number here -) `

,
l
;,-_H.v§,-,._._ ~ _t. m_w., ____._ .-W~.,..…t,__,._,..‘,._~__ ..t..,.m_,....~...~.v_ ..-._. ,., ..,,-

l
l

 

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property'You own or Have an lnterest ln.
if you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any fann- or commercial fishing-related property? §
q No. Go to Part 7.
§ El Yes. caroline 47. `

j f Current value of the

 

 

z § portion you own? §
§ Do not deduct secured claims
or exemptions ` §
§ 47. Farm animals
§ Examples: Livestock, poultry, farm-raised fish §
i:l No
_~; lIl Yes_.._.....
§ $

 

 

 

i

Official Form 106AlB Schedule AlB: Property page 9

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230219

Debtor 1 Aixa Muir

Case number ' 16'
First Name Middle Name Last Name ('Hmow")

 

§ 48. Crops-either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

El No

§ n Yes. Give specific . §
information. ............ ~ $ §
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
§ n No
j n Yes .......................... i
§ $ §
§ 50. Farm and fishing supplies, chemicals, and feed
§ n Yes .......................... 5
$ §
51.Any farm- and commercial fishing-related property you did not already list §
cl No §
§ cl Yes. Give specific
§ information ............. $ z
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0 , 00

§ for Part 6. Write that number here 9 ___
§_,t_,._m\.* ..,..~»,_.._.~_r\.,,...,.,v...».. ....»___ -. ~r~` . _M. ,t,,“.. . ,..»..,._. ., .= ..,.,»,.._.,_.~.….¢...,,~» .. t, , u,._~~..__.¢._. ._... .`.,.....\ .-_\_.,.. ‘_~,.,, _.,»,._¢.`._v_.¢.__ ,,,,_ ...__. .W. _.`.,. ,_,_,“__'__..",...,,_._.._... 1_4__….,_- , . t,_, _ `_,,_‘__,<,___,, j
mbescribe All Property You Own or Have an lnterest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
` Examples: Season tickets, country club membership ;
§ ‘=
5 m No .`
m Yes. Give specific » $~_~
§ ‘ information ............. §
54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $__D_‘Q_o_

i

i

List the Totals of Each Part of this Form

. v » , mma so§

 

 

 

55. Part 1: Total real estate, lrne 2 l
5 §
§ se_ Part 2: Total vehicles, line 5 $ 0 - 00 ~ §
' 57. Part 3: Total personal and household items, line 15 $ § lel -© 0 i
58. Part 4: Total financial assets, line 36 $ ' b ' 4

§ 59.Part 5: Total business-related property, line 45 $ Z|oool 00 §
SO. Part 6: Total far_m- and fishing-related property, line 52 $ ` 0

61 . Part 7: Total other property not listed, line 54 + $ /D t 0® §

l 62,Total personal property, Add lines 56 through 61. .................... $ b f §|H[ ~ ij Copy personal property total 9 §+$ W~é{ 9 brb:q:r

1 .,- .._ ..~~N.~._.. __` ... ...._,. . .__ ~\‘

634Total of all property on Schedule A/B. Add line 55 + line 62_ l $ 3 :| § l 4,?. 14

 

 

 

 

 

 

 

 

 

Official Form 106AlB Schedule AlB: Property,. , page 10

 

 

 

CaS€ 1-16-40104-nh| DOC- 1 Fl|€d Ol/J_._;|./J_.j€ Entered 701/11/16 12230:19

Fill in this information to identify your case:

Debtor 1 Aixa MUir‘

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Eastem District of New York

r(;|?:neog:;nber 16- , El check ifrhis is an
amended filing

 

 

Official Form 106C ‘ y , `~
Schedule C: The Property You 1Claim as Exempt 12/15

Be as complete and accurate as possible. lf two married people are ming together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Ofiicial Form 106A/B) as your source, list the property that you claim as exempt, lf more
space is needed, hll out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Altematively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you cla'im an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m ldentify the Property You Claim as Exempt

y 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you,

n You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
w You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

‘ 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specitic laws that allow exemption ~

 

t Schedule A/B.that lists this property ' portion you own _
§ Copy the value from Check only one box for each exemption.
Schedule A/B , ' _
B"ef. . . 1192 Bushwick Ave $ 581,000.00 n $ -522 (d)(i)
descnptron. _
Line from m 100% of fair market value, up to

Schedule A/B_- 1 -1 any applicable statutory limit

Bn'ef

 

 

 

description: $ n $

Line from El 100% of fair market value, up to

Schedule A/B; ___ any applicable statutory limit

Brle

description: $ n $

Line from l:l 100% of fair market value, up to
any applicable statutory limit

Schedule A/B: ___

¢¢'#»

; 3. Are you claiming a homestead exemption of more than $155,675? ,_
(Subject to adjustment on 4/01/16 and every 3 years after that for cases liled on or after the date of adjustment.)

d No ,

n Yes. Did you acquire the property covered-by:the exemption within 1,215.days before you filed this case?
n No -` zc§i_

__ _,.Q _Y§§ ,_

`-/ ,

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 ot;:_

 

Case 1-16-40104-nh|

Debtor 1 Aixa

Hrst Name Middle Name

w Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Last Name

DOC 1 Filed 01/11/16 Entei’ed 01/11/16 12:30':'¢19

Muir Case number (irimown) 1 6`

Current value of the
portion you own

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ Copy the value from Check only one box for each exemption
Schedule A/B t ~
B"ef - - . Househo|d goods $ 2,000.00 [|
descnption. - $
Line from 6 q 100% of_fair market value, up to
_S_Ct_iedyle A/B~' . s _t _, c t , sally F"’P“°,?b'.eft_a“¥‘°,'¥ 'FW'§. t

§ §::;nption: flemman s 1,000.00 n $

Line from q 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
:::tf:ription' Books $ 100'00 n $

Line from Ul 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
:::;ription' Clothing $ 1’000'00 n $

- Ul 100% of fair market vaiue, up to
Line from 1 1 . . .
§Chedule_A_/B: ,, _ _ ‘ - _ _ _ h _ 7 7 4 ~__ w »any_a_i>plic'able statutory hint 4
E::cf:ription' Jewelry $ 100-00 [] $

Line from w 100% of fair market value, up to
Schedule A/B_- 2 any applicable statutory limit

' gei:;ription‘ Cash $ 20'00 n $

4 Line from 1 6 g 100% of fair market valuel up to
Schedule A/B_- any applicable statutory limit
§::¢:ription' Deposits $ 726'47 n $

Line from 17 g 100% of_fair market value, up to
Schedule A/B_- _any applicable statutory limit
:;ise;npt.lon_ Ludlow Barrett Asso $ uM KMOWL n $
y - g 100% of fair market value, up to
Line from . . .
Schedule A/B_- 1 9 any applicable statutory limit
E::;npnon_ Too|s of the Trade $ 2,000.00 g $
Line from d 40 g 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief ,

- - - $ El $
descnption.
Line from n 100% of fair market value, up to
__S§h§dul€ A/§' __ _ , _ t v , , 4 _ v ; §"Y aPP'i_CE_l}?le‘S_fat\{tqry limit _ _ 7
Brief

- - - $ El $
descnption.
Line from n 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief l

' - - $ El $ v . ,
descnption. . ,
Lin from l;l 100% of fair"qiarket value, up to

e any applicable statutory limit

Schedule A/B:

Ofl`icial Form 1060

Schedule C: The Property You Claim,aswl§lxempt

Amount of the exemption you claim

“52‘2(5)(§.)

Specific laws that allow exemption
522(<1)(3)
522(<1)(3)

rt s22(d)(s)

.=jéz<§i)`(ij"'
`.={2`2`@§('.={) "' ` " '

séétii)is)' ‘

 

522(<1)(5)

 

'5§§(§>(5)

 

 

 

 

Case 1-16-40104-nh| DOC 1_ Filed Ol/l_l/t@ Entered 01/11/16 12:30:19

Fill in this information to identify your case:

Debtor 1 Aixa Muir

First Name Middle Name Last Name

De btor 2
(SpDuSe, ifflling) Fizst Name Middle Name Last Name

 

United States Bankruptcy Court for the: Eastem District Ot New YOl’K

Case number 16'

i.rkmwnl ` El cheek innis is an
' amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this fonn. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

El No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

List Aii secured claims
Column A `-' Column B 7§

2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately mount of clalm E‘Value of collateral
for each clairri. lf more than one creditor has a particular claim, list the other creditors' in Part 2.

Column C
Unsecured .

   
  

   

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

D id d uh ' that supports this ; portion
As much as possible, list the claims' in alphabetical order according to the creditor's name. vacl:eool §olll|;lera‘l iaim . t ll any ,
Aames Home Loan Describe the property that secures the claim: $ 632 451 09 $ 581 000 00 $ 51 451-09
Creditoi's Name 7 _ '
4282 Nonh Fwy 1192 Bushwick Ave, Brooklyn, NY 11221
Number Street
As of the date you ti|e, the claim is: Check all that apply.
cl Contingent
El uniiquidated
city state ziP code q Dlspuled
Wh° °We$ the debt? Check one~ Nature of lien. Check all that apply.
q Debtor1 0an q An agreement you madel (such as mortgage or secured
n Debtor 2 only car loan)
E| Debtor1 and Debtor 2 only cl Statutory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another n J\It`l£lmel’lt lien from a laW$llit
El other (including a right to offset)
El cheek if this eiaim relates to a
community debt
Date debt was incurred711/O1/2OO: _7st digits of account number 3 __7_ l _4_
Nafionstar Mor[gage Describe the property that secures the claim: $ 2931017-09 $ 383,547-00 $ 0-00
Creditor’s Name 7
3950 Cypress Waters Bin 10203 216 Street, Jamaica, NY 11429
Number Street .
As of the date you tile, the claim is: Check all that apply.
cl Contingent
Jamaica NY 1 1429 [l Uniiquidated
city slate ziP code n Dlspuled
Who owes the debt? Check one- Nature of lien, cheek ali that apply.
n Debtor1 0an El An agreement you made (such as mortgage or secured
cl Debtor 2 only car loan)
n Debtor1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic's lien)
q At least one of the debtors and another n Judgment lien from a |HWSUlf

q Other (including a right to offset) Agmt other mad
El cheek if this claim reiates to a _
community debt

Date debt was incurred Last 4 digits of account number_G _8 _§ _9_
Add the dollar value of your entries in Column A on this page. Write that number here: E_ ' _ _j

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property pagett of

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Elitei’ed 01/11/16 12230219

Debtor1 Alxa Mu'r ; Case number iriawwni 16'
Fi.rst Name Middle Name Last Name

 

mist others w Be Notitied for a oeb¢ 'rira¢ You Aireariy Lis¢e¢i'

l
l
l
l
l

Use this page only if you have others to be notitied about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed i`n Part 1, list the additional creditors here. lf you do not have additional persons to
be notified for any debts in Part 1, do not till out or submit this page. ‘

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|::l chen Loan gen/icing |_LC On which line in Part 1 did you enter the creditoi’? 2'1
f Name Last 4 digits of account number _5 l _7 _4_
1661 Worthington Road
Number Street
§ Suite 100
l
West Palm Beach FL 33409
§ city state ziP code
l l Armando L Muir On which line in Part 1 did you enter the creditor? 2-2
Name l.ast4 digits of account number_6_ _8_ _6 _9
47 Debevoise Street
l Number Street
§ unit 60563
f Brooklyn NY 1 1 206
City State ZlP Code
l l On which line in Part 1 did you enter the creditor? l
l Name Last 4 digits of account number_ _ _ _
1
i
' Number Street /
§
`l city state ziP code
` On which line in Part1 did you enter the creditor?
1 Name ` Last 4 digits of account number i l l 1
l Number Street
§ City state ziP code l
| | On which line in Part 1 did you enter the creditor?
'7, Name Last 4 digits of account number_ _ _ _
Number Street
'j' city state ziP code
" ‘ " ` " `“'l
On which line in Part 1 did you enter the creditor?
l l
§ Name Last 4 digits of account number_ _ __ __

 

Number Street

 

 

 

l city state ziP code

 

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page_ of _

 

Case 1-16-40104-nh|

Fill in this information to identify your case:

Debtor 1 A'Xa

DOC_ 71_ F.i|ed_ Ol/§l.l/l§

Muir

 

Hrst Name Middle Name

Debtor 2

last Name

 

(SpouSe, ifiling) Hisl Name Middle Name

Last Name

United States Bankniptcy Court for the: Eastem District of New York

16-

Case number

 

(if known)

 

 

Official Form ‘lO€E/F

 

Schedule ElF: Creditors Who Have Unsecured Claims

 

Elii€i’ed 01/11/16 12230219

lIl check ifthis is an
amended filing

12l15

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|ORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Fon'n 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Fom1 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries' in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

mist All of Your PR|OR|TY Unsecured Claims

EZ No. co tc Part 2.
n Yes.

 

 

 

 

1. Do any creditors have priority unsecured claims against you?

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
‘ nonpriority amounts, As much as possible, list the claims' in alphabetical order according to the creditor's name. lf you have more than two priority
unsecured claims, lill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors' in Part 3.

(For an explanation of each type of claim, see the instructions for this fonn' in the instruction booklet. )

 

 

 

 

Priority Creditor's Name

 

Number Street

 

 

City State ZlP Code
Who incurred the debt? Check one.
n Debtor1 only

cl Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another
El check if this claim is for a community debt

ls the claim subject to offset?

ElNo
ElYes

 

./

, § Total ciaim ni="ricrity 7 nonpriority
,_ _ . amount ._,amg!!ut a
2.1 | _
Last4 digits of account number _ _ _ _ $ $ $
Priority Creditors Name
When was the debt incurred?
Number Street 7
As of the date you tile, the claim is: Check all that apply.
City Slale zlP Code n Contingent 7
_ o El Uniiquidaied
Who incurred the debt. Check one. n Dlsputed
n Debtor1 only . 7
El Debtor 2 only Type of PR|OR|TY unsecured claim:
g Debtor 1 and Debtor 2 only n Domestic support obligations
At least one of the debtors and another n Taxes and certain other debts you owe the government
n check 'f th's cla'm 's f°r a c°mmumty debt n Claims for death or personal injury while you were
ls the claim subject to offset? 'm°’"°"ed
E| No n Other. Specify
n Yes
1211 Last 4 digits of account number _ _ _ $ $ $

 

When was the debt‘incurred? 7
iz~“i

t . /¢' y
As of the date you tile, the claim is: Check all that apply.
- n Contingent

n Un|iquidated
l:l Disputed

Type of PR|OR|TY unsecured claim:
l:l Domestic support obligations
n Taxes and certain other debts you owe the government

.'l
n Claims for death or personal' injury while you were
intoxiolted

n Other. Specify

 

 

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page 1 of_

 

Case 1-16-40104-nh| DOC 1 Filed Ol/l_l/l€ Eiii€r€d 01/11/16 12230:19

Debtor 1 Aixa Muir

 

Firsl Name Middle Name Last Name

must All of Your NONPR|OR|TY Unsecured Claims

Case number(r/imown) 16'

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Do any creditors have nonpriority unsecured claims against you?
m No. You have nothing to report in this part Submit this fonn to the court with your other schedules.
Yes
4. List all of your nonpriority unsecured claims in the‘alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
claims till out the Continuation Page of Part 2.
' ;letau=ee_u~_
E Chase Bank USA, NA Last4 digits of account number£ _4_* _1_ § 27.126 00
Nonpriority Creditors Name , $ ’ t '
270 Park Ave When was the debt incurred? 03/01/1994
Number Street
New York NY 10017 x_ §
ciiy siaic zip code As of the date you tile, the claim is: Check all that apply. '
Cl Contingent
Who incurred the debt? Check one. [| U'n"quid'aied
§ w Debtor1 only Disputed
' cl Debtor 2 only ~ §_
El Debtor 1 and Debtor 2 only Type'of NONPR|OR|TY unsecured claim:
El At least one of the debtors and another cl :'S§udent loans
cl check if this claim is for a community debt El Obligations arising out of a separation agreement or divorce §
4 that you did not report as priority claims §
ls the claim subject to Offset? El Débts to pension or profit-sharing plans, and other similar debts '§
a N° § oiher. specify Charged off revolving account
El Yes :_
4-2 § Last 4 digits of account number _ __ _ __ $
Nonpnoriiy creditors Name When was the debt incurred?
Number Street t
As of the date you tile, the claim is: Check all that apply.
city slate ziP code cl ‘Conim'gem §
who incurred the debi? check one. n Un"q“idafed
El Debtor 1 only n D'Sputed
cl DebtorZonly k v . ` _
cl Debtor 1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
m At least one of the debtors and another n Student loans
_ _ _ _ _ a Obligations arising out of a separation agreement or divorce
m Check if this claim is for a community debt ihai you did nci report as priority claims §
ls the claim subject to offset? n Deth to pension or profit-sharing plans, and othersimilar debts !
cl No cl Other. Specify
m Yes
`3 l Last 4 digits of account number __ _ _ _
Nonprion'ty Creditors Name _ $
When was the debt incurred?
Number Street
city Sme ZlP Code As of the date yo_g§tile, the claim is: Check all that apply.
who incurred tire debi? check cns. cl C_°'_‘“"?e"t
n m Unliquidated
Debtor 1 only n Dl.sputed
cl Debtor 2 only
n Deb‘°' 1 and Deb’°':? °"'Y Type of NoNPRioRiTY unsecured claim:
m At least one of the debtors and another
m Student loans
m check if this Claim is for a C°mmlmity debt m Obligations arising out of a separation agreement or divorce
_ _ that you did not report as priority claims z
? i
ls me claim subject to offset n Debts to pension or profit-sharing plans, and othe_rrsimilar debts ’
m NO m Other. Specify "
§ |:l Yes ` `\
l
Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page _ of___

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entel’ed 01/11/16 12230219

Debtor 1 Aixa Muir
Flrst Name M'ltdle Name Last Name

m Add the Amounts for Each Type of Unsecured Claim

 

Add the amounts for each type of unsecured claim.

Total claims Ga. Domestic support obligations

from Part 1 6b. Taxes and certain other debts you owe the

government

60. Claims for death or personal injury while you were
intoxicated

6d. Other. Add all other priority unsecured claims.
Write that amount here.

6e. Total. Add lines 6a through 6d.

Total claims 6f. Student loans

fr°m Pan 2 Sg. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

 

Ga.

6b.

60.

6d. `

6e.

6i.

69.

6h.

6i.

61.

l

Case number (iilmown) 16'

 

 

 

 

 

 

TToial claim
-$ 0.00
s 0.00
$ 0.00
-l- $ 0.00
$
Total claim
$ 0.00
$ 0.00
$ 0.00
_+ s 27,126.00
s 27,126.00

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.

 

Ofiicial Form 106E/F» Schedule ElF: Creditors Who Have Unsecured Claims

page _ of _

 

 

Case 1-16-40104-nh| DOC`J_ .Filed 01/11/16 Entel’ed 01/11/16 12230219

Fill in this information to identify your case:

ocbior Aixa Muir
l-“ilst Name Middle Name Last Name

 

Debtor 2
(Spouse If iling) Hrst Name Middle Name Last Name

 

United States Bankruptcy Court forthe: Eastem District of New York

16-
C be
§r'i‘§f°$l§“ ’ l El check ifiirls is an

amended filing

 

 

 

Official Form 1066 _l
Schedule G: Executory Contracts_ and, Unexpired Leases 12/15

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, till it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and ease number (if known).

1. Do you have any executory contracts or unexpired leases?
w No. Check this box and tile this form with the court with your other schedules. You have nothing else to report on this fonn.
n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Pmpelty (Ochial Form 106AlB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contractor lease ' ' Statewhat the contract or lease is for

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

City State ZlP Code
2.3l

,._._r

 

Name

 

Number Street

 

city slate zlP code

 

Name

 

Number Street

 

cily sells zlP code

2.5
_._i

 

Name

 

Number Street

 

 

, City State ZlP Code 4 7 l

thcia| Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of_

 

Case 1-16-40104-nh| DOC 1 '-_Fi|Qd 01/11/16 Elit€l’ed 01/11/16 12230:19

Fill in this information to identify your case:

Debtor 1 AlXa M U l l`

 

Fust Name Middle Name Last Name

Debtor 2
(SpOUSe, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Eastem District Df New York

Case number 16'
(lf known)

 

El check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors ` 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, till it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

l

§ 1. Do you have any codebtors? (lf you are filing ajoint case, do not list either spouse as a codebtor.)
m No
n Yes

§ 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and teniton'es include
l An'zona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

w No. Go to line 3. l
L:l Yes. Did your spouse, former spouse, or legal equivalent live with you at the time? §

§ UNO

§ L:l Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

 

§ `i

Name of your spouse, fenner spouse, ur legal equivalent

 

Number Street

 

city state zlP code l

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is tiling with you. List the person
f shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

§ Schedule D (Of|icia| Form 1060), Schedule E/F (Official Form 106EIF), or Schedule G (Oflicial Form 1066). Use Schedule D,

" Schedule E/F, ar Schedule G to till out Column 2.

Column 1.' Your codebtor 4 7 Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

3.1 §
v El schedule D, line

Name
n Schedule E/F, line
Number street |:l Schedule G. line

 

 

City State ZlP Code

3.2 l
El schedule D, line

 

 

 

 

 

 

 

 

 

Name
Cl schedule E/F, llne__
Number street Cl g_§chedule G, line
~_C"_iy slate zlP code h
3.3| *
Cl Schedule D, line
Name ,
Cl schedule E/F, line
Number street Cl 'Schedu|e G, line
City State ZlP Code

 

 

._.-l_,

 

O_fticial Form 106H Schedule H: Your Codebtors page 1 of_

 

CaS€ 1-16-40104-nh| DOC 1 _Fl_|ed Ol/ll/_J__t€ Elitel’ed 01/11/16 12230:19

Fill in this information to identify your case:

Debtcr 1 Aixa Muir

Flrst Name Last Name

 

Debtor 2
(SPOUSe, if nllng) Flrst Name Middle Name Last Name

 

united States Bankmptcy Court for the: Eastem District of New ¥0rk

 

((;|alsreonw:;nber 16' Check if this iSZ
El An amended filing

EI A supplement showing postpetition chapter 13
income as of the following date:

Official FOf'm 106| m
Schedule l: Your lncome » '- ' mrs

Be as complete and accurate as possible. |f two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information..|f you'are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Emp|oyment .

1. Fill in your employment ‘ ' ,
infonnation. Debtor 1 . Debtor 2 or non-filing spouse

 

 

 

 

 

if you have more than one job,

attach a se arate pa e with » ‘ ' .
informationpabout adgitional Empl°yme“t status m EmP|Oyed n Emp|oyed

employers. n Not employed n Not employed

include part-time, seasonal, or
self-employed work.

Occu ation Ownér
Occupation may include student p

or homemaker, if it applies. l
` Emplcyer's name Ludlow Barrow Assoc

 

 

Emp|oyer'$ address 47 Debevoise Street

 

 

 

 

 

Number Street Number Street §
Box 60563 §
Brooklyn NY 1 1206
City State ZlP COde C'lfy State ZlP COd(-.‘

How long employed there? 7 years 7 years

l
l
l
l

mGive Details About Monthly lncome

Estimate monthly income as of the date you tile this fonn. lf you have nothing to report for any line, write $O in the spaoe. lnc|ude your non-liling
spouse unless you are separated.

|f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. lf you need more spaoe, attach a separate sheet to this fo`rm.

For Debto`r 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

 

deductions). lf not paid month|y, calculate what the monthly wage would be. 2. $ 0_00 $
3. Estimate and list monthly overtime pay- 3_ + $ 0.00 + $
4. Ca|culate gross income. Add line 2 + line 3. 4. $ O-OO $

 

 

 

 

 

Official Form 106| Schedule l: Your lncome page 1

 

 

Debtor1 Alxa Muir Case number (irlarcwrr) 16'
Flrst Name Middle Name Last Name
§ F°l' Debtor 1 For Debtor 2 or 4 § _ § m'§
non-filincl spouse §
copy line 4 here -) 4. $ 0-00 $ §
l
5. List all payroll deductions: §
5a. Tax, Medicare, and Social Security deductions 5a $ 0.00 $ §
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ §
l
50. Vo|untary contributions for retirement plans 50. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ §
5e. insurance 5e. $ 0.00 $ §
5f. Domestic support obligations 5f. $ 0~00 $ §
59. Union dues 59. $~_M $ §
Sh. Other deductions. Specify: 5h. +$ 0.00 + $ §
6. Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5e +5f + 5g + 5h. 6. $ 0.00 $ §
'l
7. Ca|culate total monthly take~home pay. Subtract line 6 from line 4. 7_ $ 0.00 $
l
l
. B. List all other income regularly received: §
Ba. Net income from rental property and from operating a business, §
profession, or farm § §
Attach a statement for each property and business showing gross §
receipts, ordinary and necessary business expenses, and the total l
monthly net income. Ba. $_§"M- $ §
ab. interest and dividends Bb. $ 0.00 $ §
80. Family support payments that you, a non-filing spouse, or a dependent §
regularly receive
include alimony, spousal support, child support, maintenance, divorce $ 0 00 $ §
settlement, and property settlement. 8c. _`__ §
Bd. Unemployment compensation 8d. $ 0-00 $ §
ae_ social security Be. $ 0.00 $
8f. Other government assistance that you regularly receive §
include cash assistance and the value (if known) of any non-cash assistance §
that you receive, such as food stamps (benetits under the Supp|emental 1
Nutn`t.ion Assistance Program) or housing subsidies. §
§ specity: Bf. $ 0.00 $
' l
89. Pension or retirement income 8g_ $ 0.00 $ ;_
8h. Other monthly income. Specify: Bh_ + $ O_OO + $ l
9. Add all other income. Add lines 82 + 8b + 80 + Bd + Be + Bf +89 + Bh. 9. $ 6,500.00 $ §
10.Calculate monthly income. Add line 7 + line 9. v 6 500 00 6 500 0
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $-_'_'- $ $_’_'9_
11. State all other regular contributions to the expenses that you list in Schedule J.
lnc|ude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not availa§;),le to pay expenses listed in Schedule
Specify: ' 11_ + $ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is #§he combined monthly income. 6 0 0
Wn'te that amount on the Summary of Your Assets and Liabilities and Certain Statistical lnformation, if it applies 12. $_M
Combined

 

Official Form 1061

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entel’ed 01/11/16 12230:19 - "

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13.Do you expect an increase or decrease within the year after you file this fonn?

m No.
El Yes. Explain:

 

 

 

monthly income

 

r

 

~ i."m' '

 

Schedule l: Your income

page 2

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entel’ed 01/11/16 12230:19

Fill in this information to identify your case:

Debtor1 Aixa Muir l . . .
Fr.-erame MiddieName LasaName ; Check lf this lSZ

Debtorz l;l An amended filing

(Spouse, ifliling) FllstNarne Middle Name Last Name
l;l A supplement showing postpetition chapter 13
expenses as of the following date:

 

 

United States Bankruptcy Court for the: Eastem District of New York

c(:|§i:reo§§:§nber 16- , lvnvl / Do/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses § ; 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information_ lf more space is needed, attach another sheet to this fonn. On the top of any additional pages, write your name and case number
(if known). Answer every question.

mbescribe Your Househo|d

`1. ls this a joint case?

 

 

w No. Go to line 2.
l:l Yes. Does Debtor 2 live in a separate househo|d?

n No
ij Yes. Debtor 2 must tile omcial Fonn 106J-2, Expenses `for separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

2. Do you have dependents? d No

z Dependent’s relationship to Dependent’s ; Does dependent live

§ Do not list Debtor 1 and l;l Yes. Fill out this information for Debtor 1 or Debtorz age _\ with you?

j Debtor 2. each dependent .......................... . n

Do not state the dependents' f n No

names. ~ Yes

n No
n Yes
n No
m Yes
n No
n Yes
n No
m Yes

3. Do your expenses include m No

§ expenses of people other than n
' _yourself and your dependents? Yes

m£stimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
- expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and till in the
applicable date.

lnclude expenses paid for with non-cash government assistance if you know the value of

 

; such assistance and have included it on Schedule I: your Income (Official Form 06|.) Y°l" expenses

, 4. The rental or home ownership expenses for your residence. lnclude first mortg:§ge payments and $ 3,204_54
any rent for the ground or lot. §__§i 4, _
lf not included in line 4: §
4a. Real estate taxes 43_ $ 0.00
4b_ Property, homeowner's, or renter's insurance 4b_ $ O_OO
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00

$ 0.00

4d_ Homeowner's association or condominium dues 4d.

Official Form 106J Schedule J: Your Expenses‘~-r' page 1

~ ig ‘~‘_l..

CaS€ 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230:19

 

Debtor 1 Aixa Muir

First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

10.
.11.

12.

:13.

-14.

15.

16.

17.

19.

20.

Official Form 106J

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, lntemet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medica| and dental expenses

Transportation. lnclude gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

Case number (ilknuwn) 16'

6a.
6b.
6e.
6d.

12.
13.
14.

153.
15b.
15c.

15d.

16.

17a.
17b.
17c.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 106|).

Other payments you make to support others who do not live with you. ,
Specify:

18.

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

§
20a. Mortgages on other property ` f
20b. Real estate taxes
20c. Property, homeowner's, or renter's insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

20a.
20b.
20c.
20d.
20e.

Your expenses

$

MMMMMMMMM

M

MMMM

€HMMM

€H€H€H€H€H

 

0.00

1,000.00
300.00

200.00
0.00

645.00
0.00
100.00
86.00
43.00

215.00

50.00
0.00

0.00
0.00

0.00
0.00

0.00

0.00
0.00
0.00
0.00

0.00
0.00
0.00
0.00
0.00

0.00
Q-OQ__ v _

page 2

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16' Entered 01/11/16 12230:19

Debtor1 Aixa Muir t Case number (iiknawn) 16'

Flrst Name Middle Name Last Name

 

 

 

 

 

 

 

 

 

 

 

21. Other. Specify: 21. +$ 0.00
22. Ca|culate your monthly expenses.
22a. Add lines 4 through 21. zza. $ 5,843.54
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ O_OO
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 5,843_54
23. Ca|culate your monthly net income.
' . . . $ 6,500.00
23a. Copy line 12 (your combined monthly lncame) from Schedule I. 23a.
23b. Copy your monthly expenses from line 22c above, 23b. __ $ 5,843_54
23c. Subtract your monthly expenses from your monthly income. 656 46
The result is your monthly net income. 23c. $ `
24. Do you expect an increase or decrease in your expenses within the year after you file this fon'n?
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
g No.
cl Yes- j Explain here:
§
l
l
l
l
Ofncial Form 106J Schedule J: Your Expenses page 3

 

 

 

Case 1-16-40104-nh| DOC l Filed 01/11/16 Entered 01/11/16 12230219 f

i

Fill in this information to identify your case:

Debtor 1 Aixa . Muir
Filsi Name Middle Name th Name

 

Debtor 2'
(Spouse, if filing) Fust Name ` Middle Name Last Name

 

United States Bankmptcy Court for the: Eastem District of New York

Case number 1&
(lf known)

 

_; 13 check ifihis is an

 

' ~ l amended filing

Official Form 106Dec v §
Declaration About an lndividual Debtor's Schedules 12/15

 

 

|f two married people are filing together, both are equally responsible for supplying correct information_

You must tile this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

i

 

i
i

Did you pay or agree to pay someone who is NOT an attorney to help you till out bankruptcy forms?

MNo

n Yes. Name of person . Attach Bankruptcy Petition Prepaler's Noti`ce, Declaration, and
Signature (Oflicial Form 119).

°\/ X

Signature of Debtor 2

 

 

Date §
MMl DD / YYYV i

 

 

Official Form 1OGDec Declaration Abou£%n‘lndividua| Debtor's Schedules

 

 

 

 

 

Case 1-16-40104-nh| DOC 1

Fill in this information to identify your case:

Debtor 1 Aixa

Filed 01/1_1/16

Muir

 

First Name Middle Name

Debtor 2

Lst Name

 

(Spouse, if filing) First Name Middle Name

Last Name

United States Bankruptcy Court for the: Eastem District of New York

Case number 1 6'
(if known)

 

 

Ochial Form 107

Ent€l’ed 01/11/16 12230:19

El check if this is an
amended filing

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Statement of Financial Affairs for lndividuals Filing for Bankruptcy 12/15
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
infonnation. lf more space is needed, attach a separate sheet to this form. On th`e top of any additional pages, write your name and case
number (if known). Answer every question. '

mGive Details About Your Marital Status and Where You Lived Before

§
§ 1. What is your current marital status?
§
El Manieci :
§ ` a Not married
2. During the last 3 years, have you lived anywhere other than where you live now? `{
d No j
n Yes. List all of the places you lived in the last 3 years. Do not include where you live now. 1
l ’ Debtor 1': Qates Debtor 1 Debtor`2: ` Dates Debtor 2
§ ' lived there lived there :
l i
§ n Same as Debtor1 n Same as Debtor1 i
§ From From
§ Number Street Number Street l
§ TO To
l :
§
§ j
§ City State ZlP Code State ZlP Code
§ .. ,_,,,_, , ..W.._`M.___ .n. _t.,.,. ..'…,, .._- MW__-._`W ._,._.§_.._c t,, amf .t.~_..¢~.- t t_.§. ..__.,__~.._._W_mn.i._`_.t“_-___th.,~ - _ tw_,.- .. __ ,_-",...,.-r §
‘ n Same as Debtor 1 m Same as Debtor1 »'
§ From From
§ Number Street Number Street §
§ To To ;

Ciiy State ZlP Code Siate ziP code

ElNo

Part 2: Explain the Sources of Your lncome

d Yes. Make sure you till out Schedule H: Your Codebtors (Official Form 106H)_

3. Within the last 8 years, did you ever live with_ a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Vlhsconsin.)

 

Ofncial Form 107

Statement of Financial At'fairs for-individuals Filing for Bankruptcy

.`~', l

page 1

 

Case 1-16-40104-nh|

Aixa

Hrst Name

Debtor 1 Muir

Middle Name Last Name

DOC 1 Filed 01/11/16 Eritel’ed 01/11/16 12230:19

~ Case number (r'rknawni 1 6`

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities. §
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1. §

n No
121 Yes. Fiii in the deiaiis.

ij Debtor 1
Sources of income
Check all that apply.

n Wages, commissions,

From January 1 of current year untl| bonuses, ups

the date you filed for bankruptcy: g 0 t_ b v
peer ing a US|I'|eSS

n Wages, commissions,

For last calendar year: _
bonuses, tips

(January 1 to December 31,2Q] 5 )
YwY

Operating a business

n Wages, commissions.
bonuses, tips

(January 1 to Deoember 31,2014 w Operating a business

For the calendar year before that:

ir ' 7 7 _\ §
_ §jDebtorZ ` ~' - ' ) 3
.,_i , . v_______j ;

Gross income
(before deductions and

Gross income
(before deductions and

Sources of income
Check all that apply.

exclusions) exclusions)
. n Wages commissions,
$_M bonuses, tips $ §
n Operating a business §
n Wages, oommissions,
$ 42,000.00 bonuses, tips $ `
n Operating a business
n Wages, commissions,
bonuses, tips $

n Operating a business

 

§ 5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Sociai Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

n No
ll Yes. Fiii in the detaiis.

§ Deb`t_or 1

Sources of income

From January 1 of current year until
the date you filed for bankruptcy:

_~' l i A"" ".”_"'““' v 1
§§ Debtorz ~ - " ‘

_. A..,__._....._. _si a___ae. .'_,,......i'__ . __. <_‘_.-. _,s.-.,__.. _=,~ ,_.__,_._,_.,....._..'

Gross income from Sources of income Gross income from

 

For last calendar year:

 

 

(January 1 to December 31,2015 )
YwY

 

For the calendar year before that:

(January 1 to December 31,201$ l
YYYY

 

 

 

Describe below. each Source Describe below. each S°urce
(before deductions and (before deductions and
exclusions) exclusions)
BentaLlanme__ $ 3,000.00 ____ $ '
$
§
Rental income $ 13,500.00 $ f
$
$
$ ".
$ i
$ §

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankmptcy

page 2

 

Debtor 1

Case 1-16-40104-nh|

Aixa

Filst Name

Muir

Middle Name Last Name

Case number (irknown) 16"

mg Certain Payments You Made Before You Filed for Bankruptcy

DOC 1 Filed 01/11/16 Entered 01/11/16 12230:19

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

n No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as

“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225‘ or more?

E| No. soto line 7.

n Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

El No. Go to line 7.

n Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Dates of
payment

Credito\’s Name

 

Number Street

 

 

 

Credito\’s Name

 

Number Street

 

 

Cily State ZlP Code

 

Creditors Name

 

Number Slreet

 

 

City State ZlP Code

Total amount paid

Amount you still owe

$

Was this payment for...

n Mortgage

n Car

Cl credit card

n Loan repayment

n Suppliers or vendors

n Other

n Mortgage

n Car

n Credit card

n Loan repayment

n Suppliers or vendors

n Other

n Mortgage

n Car

l;l Credit card

n Loan repayment

m Suppliers or vendors

n Other

 

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankmptcy

page 3

 

 

CaSe 1-16-40104-nh| DOC 1 Filed 01/11/16 Entei’ed 01/11/16 12230:19 ****

 

 

 

Debtor1 Aixa Muir Case number (irknawn) 16`
First Name Middle Name Last Name
§ 7. Within 1 year before you filed for bankniptcy, did you make a payment on a debt you owed anyone who was an insider?

Offici

insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in controi, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony. '

M No
n Yes. List all payments to an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe

 

$ $ ' f

insiders Name

 

Number Street

 

 

City State ZlP Code

 

 

insiders Name

 

Number Street

 

 

City State ZlP Code

 

 

 

§ 8_ Viiithin 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insidei’?
include payments on debts guaranteed or cosigned by an insider.

MNo

El Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment '

payment paid owe include creditors name

 

 

insiders Name

 

Number Street

 

 

City State ZlP Code

 

 

insiders Name

 

Number Sdeet z ¢

 

 

 

 

C:ly _.__§efs_~ z\_P§-;qe._`. _M _` … … o _\. _t.m__,iw..__-__._, _~_M_w.,. _ wm

al Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entei’ed 01/11/16 12230:19j

Debtor1 Aixa Muir

i-'lrsf Name Middle Name Last Name

 

Case number (irknewn) 16-

m identify Legal Actions, Repossessions, and Foreclosures

§ 9. Within 1 year before your filed for bankruptcy, were you a party' ln any lawsuit, court action, or administrative proceeding? §
j List all such matters, including personal injury cases, small claims actions, divorces, collection suiis, paternity actions, support or custody modifications 5
’ and contract disputes.

n No
’ lit Yes. Fill in the details. _

 

 

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case ’
l . Foreclosure Lawsuit Supreme Court Kings County §
Casetme Aames Fundlng Corp v. Court Name KZ Penaing
- - n On a eai §
§ Aixa Mulr, et al 360 Adams Street pp §
Number Street m Concluded §
1 !
§ case number Brooklyn NY 1 1201
§ cily stale zlP code j;
Case titie____ court Name m Pending 1
n On appeal -§
5 §
§ Number sneel n Conciuded l
Case number
§ daily stale zlP code
l l

 

 

§ 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, gamished, attached, seized, or levied?
Check all that apply and fill in the details below.

4 M' No. soto line 11.
" n Yes. Fill in the information below.

Describe the property ~ ' Date , value of the property

 

 

Creditors Name

 

 

Number street Explain what happened - §

l;l Property was repossessed.
, l;l Property was foreclosed.
1 n Property was garnished.
cily stale zlP code n Property was attached, seized, or levied.

 

 

 

Describe the property v Date Value of the property

 

 

Creditors Name

99

 

Number Street `
Explain what happened

: l;l Property was repossessed. l

 

Property was foreclosed_

 

El
g City stake ZlP Code g Property was garnished.

Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entei’ed 01/11/16 12230:19

¢

Debtor1 Aixa Muir Case number (irknawn) 1 6'

 

Firsf Name Middle Name Lut Name

l
j 11. Within 90 days before your filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

:‘ mNo

Cl Yes. Fill in the details

ii Describe the action the creditor took Date action Amount

 

 

 

 

 

 

 

 

§ was taken
,
§ Creditors Name i
‘, Number Street g $
‘ l
1 i
' 1
1 l l
§ City State ZlP Code Last 4 digits of account number: XXXX-
§

5 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

§ w No
j l;l Yes

must Certain Gifts and Contributions

i: 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
\ w No

n Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

i Gifts with a total value of more than $600 Describe the gifts 4 Dates you gave Value
; per person 4 the gifts

l`

$

; Person to thm You Gave the Giit

§ s

l

§ Number Street

i

?

city state zlP code

§

Person’s relationship to you

§ Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
§ per person . “ the gifts

g $

j Person to Whom You Gave the Giii

1

i $

 

 

Number Street

 

cily stale zlP code

Person's relationship to you

 

 

 

Ofiiciai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

Debtor 1

Case 1-16-'40104-nh|

Aixa

Frrst Name Middle Name

§ mNo

§ Gil’ts or contributions to charities
that total'more than $600

DOC 1 Filed 01/11/16 Entered 01/11/16 12230:19

Muir

Last Name

yEl Yes. Fill in the details for each gift or contribution.

Describe what you contributed

 

 

CharitYs Name

 

 

Number Street

 

 

city siaie zlP code

 

 

m List Certain Losses

a

El ves. Fill in the details.

List Certain Payments or Transfers

16._Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
lnc|ude any attomeys, bankmptcy petition preparers, or credit counseling agencies for services required in your bankmptcy.

El No
El Yes. Fill in the detaiis_

 

Official Form 107

lJescribe the property you lost and
how the loss occurred l

Describe any insurance coverage for the loss

include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Pmperty.

 

l
l
§

 

 

K|VA JAMES, ESQ

Person Who Was Paid

344 Ave U

Number Street

Ste 628
Brooklyn NY 1 1223

Clly State ZlP Code

 

 

 

 

kivajamesesquire@hotmail.com

Emai l or website address
n/a
Person Who Made the Paymenl, if Nat You

 

 

Description and value of any property transferred

 

 

Legal Fees

l
l
l
l
l
§

Case number (i/knawn) 1 6'

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

‘ Date you Value

 

contributed
$
$

 

.' 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, tire, other
disaster, or gambling?

MNO

Date of your Value of property
loss lost
$

 

Date payment or § Amount of payment
transfer was
made

12/19/2015 $ 1,250.00

 

 

Statement of Financial Affairs for lndividuals Filing for Bankruptcy

 

page 7

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230219

 

 

 

 

 

 

 

Debtor 1 Aixa Muir Case number (ifknawn) 16`
First Name Middle Name Last Name
Description and value of any property transferred Date payment or ` Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

 

 

 

City Slate ZlP Code

 

Email orwebsite address

 

Person Who Made the Payment, if Not ¥uu

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

El Yes. Fiu in the details

 

 

 

 

 

City State ZlP Code

Description and value of any property transferred Date payment or Amount of payment
transfer was
`_ made

Person Who Was Paid l

! i $
Number Street i § ___

i

i l $

l 1

l t

 

 

t

l

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
lnclude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

MNo

El Yes. Fiu in me detaiis.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

l
Person Who Received Transler `

 

Number street

 

 

city stare ziP Code

 

Person's relationship to you

 

 

Person Who Received Transler

 

Number Street

 

 

 

 

City State ZlP Code

 

 

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

 

 

Debtor 1 Aixa Muir l Case number (irkhown) 1 6"

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230219

Hrst Name Middle Name Last Name .
l

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

MNO

El Yes Fill in the details

Description and value of the property transferred ' ' ~ ` v Date transfer
' , was made

 

Name of trust

 

 

 

 

 

Part 8: List certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage \_Jni\s

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,

closed, sold, moved, or transferred?
lnclude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,

brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

MNo

El Yes Fill in the details

 

 

Last 4 digits of account number Type of account or Date account was Last balance'before
instrument closed, sold, moved, l closing or transfer
or transferred
Name of Financial lnstitution `
)oo<x_ l] checking $
n Savings

Number Street
n Money market

 

n Brokerage

City State _ ZlP Code n other

 

xxxx_ El checking $

 

Name of Financial institution
n Savings

 

Number Street n Money market

n Brokerage

 

El other

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
g No

El Yes Fill in the details

 

 

 

 

 

 

 

 

 

Who else had access to it? ' 7 Describe the contents Do you still
' ' have it?
l
l cl No
l
Narne of Financial institution Name '1 n Yes
Number street Number Street l i
l l
city slate zlP Code g 1
l
l

City State ZlP Code

 

Official Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 9

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230:19

Debtor 1 A'Xa Muir z Case number (irkhhwh) 16'
Flrsl Name Middle Name Last Name '

 

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy? g
No
El Yes Fill ih the details

 

 

 

Who else has or had access to it? ` ~ Describe the contents t Do you still
hav_e it?
l
§ cl No
Name of Storage Facility Name l n Yes
Number Street Number Street

 

City$tate ZlP Code

 

 

_..W,w___§i$y,_e_~. -_W__t s h.,a§*?!£.s}~'.*~’.§'$_".§ _._,.¢_.1-1_»` _WM ,.1.-._,"-1,__,.~- ‘,,.M.W ._…_1, ._d_e._ _._,_-.~ __M____ __ .ee_ l, _

m identify Property You l'lol¢l or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
w No
El Yes Fill in the details

Where is the property? Describe the property Value

 

 

Owner's Name

Number Street ‘

 

Number Street

 

 

 

 

city state zchode l
city state zchode l

m Give Details About Environmentai information

 

 

 

For the purpose of Part 10, the following definitions apply:

l:a Environmental law means any federal, state, or local statute or regulatio_n‘conceming pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface wateri groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

§ Site means any location, facility, or property as defined under any environmental iaw, whether you now own, operate, or
` utilize it or used to own, operate, or utilize it, including disposal sites.

la Hazardous material means anything an environmental law defines las a hazardous waste, hazardous substance, toxic
§ substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

mNo

El Yes Fill in the details

§ Govemmental unit En, ` orlmental law,- if you know it Date of notice

"F
|
s

 

 

j .

 

~--ea-_-_l

 

 

 

 

Name of site Govemmental unit
l Number Street Number Street
g
§ city state zlP cede
t
city state zlP code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

 

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01711/16 12:30:19

Debtor1 Aixa Muir
Flrst Name Middle Name Last Name

 

<

; 25. Have you notified any governmental unit of any release of hazardous material?;

g No
t El Yes Fill in the details

Governmenta| unit

Environmental law, if you know it

Case number (ifknawn) 16'

Date of notice

 

 

Name of site Govemmental unit

 

 

 

Number Street Number Street

 

City State ZlP Code

 

City State ZlP Code
l

26.Have you been a party in any judicial or administrative proceeding under any environmental law? lnclude settlements and orders.

§ MNo

l`_`l Yes. Fill in the details

 

 

§ court °l' agency Nature of the case . Stat"'s °f the §
; ~ ...-. ,-.._4 . § ., W..__.~…_,__.,s .,_. ,,..1,_.,__4-1,,_,7 case _:
§
5 Case title f §
§ Court Name n Pendlng l
n On appeal §
§ Number Street § f n concluded ;
z Case number city stale zlP code v

mha De|alls About Your Business or Connections to Any Business

 

l 21. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
§ cl A sole proprietor or self-employed' rn a trade, profession, or other activity, either full- time or part- -time t

`i d A member of a limited liability company (LLC) or limited liability partnership (LLP)

, n A partner in a partnership
t cl An officer, director, or managing executive of a corporation

cl An owner of at least 5% of the voting or equity securities of a corporation

n No. None of the above applies. Go to Part 12.
n Yes. Check all that apply above and fill in the details below for each business.

. Describe the nature of the business
Ludlow Barrett Assoclates LLC

 

 

Business Name l

Office services and tax preparation

 

 

 

 

 

47 Debevoise Street

Number Street

Box 60563 d i Name of accountant or bookkeeper
Brooklyn NY 11206

city __t§tate,i...,.;'r code _

Emp|oyer identification number
Do not include Sociai Security number or lTlN.

ElN: -

Dates business existed

From To

 

Describe the nature of the business

 

 

Business Name

 

 

Number Street ` '
Name of accountant or bookkeeper

 

 

 

 

 

city state zlP code

 

Emp|oyer identification number
Do not include Sociai Security number or lTlN.

ElN: -

Dates business existed

From To

 

 

 

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230:19

Debtor 1 Aixa Muir , Case number (inaiawh) 16'

 

Hrsl Name Middle Name Last Name

 

Describe the nature of the business Emp|oyer |de"micati°" number

 

 

 

 

 

 

 

Do notz ' f SocialSecurity numberorlTlN. _
Business Name

ElN: ____-___________
Number Street Name of accountant or bookkeeper § Dates business existed

From To
City State Z|F Code

 

 

 

 

28. Within 2 years before you filed for bankruptcy, did you lgive a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

MNo

El Yes Fill in the details below.

Date issued

 

Name m

 

Number Street

 

 

City State ZlP Code

/l § .
l have read the ans/ders o this Statem f tof FinancialAf[airs and any attachments, and l declare under penalty of perjury that the

in connection with a ban mptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152/1341, 1 19, and 357 .
/

X

Signature of Debtor 2

 

 

Date

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy fonns?

MNo

El Yes. Name of person . Attach the Bankruptcy Petition Preparel’s Notice,
/ Declaration, and Signature (Official Form 119).

l
- /‘

 

answers are true and corr ct. l unders nd that making a false statement, concealing property, or obtaining money or property by fraud

 

 

 

 

m-
ir _

Official Form 107 Statement of Financial Affairs for lndividu s Filing for Bankruptcy page 12

 

 

 

 

Case 1-16;40104-nh| DOC 17 Fi|€d 01/11/16 Ent€red 01/11/16 12230:19

UNITED STATES BANI(RUl’TCY COURT
EASTERN DISTRICT OF NEW YORK

Www.nyeb.uscourts.gov

STATEMENT PURSUANT; To LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S):Muir, Aixa . CASE NO_: 16-

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-l and E.D.N.Y. LBR 1073~2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;

(ii) are spouses or ex-spouses; (iii) are aft`lliates, as deHned in ll U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under ll U.S.C. § 541(a).]

g NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY T]]VIE.
I:l THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE STILL PENDlNG: (YES/NO): [Ifclosed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaitin`g discharge, confirmed, dismissed, etc.)

MANNER lN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘Rl§AL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES:

 

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE STILL PENDlNG: (YES/NO): [Ifclosed] Date of closing:

 

CURRENT STATUS OF RELATED CASE:
` (Discharged/awaiting discharge, conflrmed, dismissed, etc.)

MANNER IN wHIcH cAsEs ARE RELATED mefer w NoTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCI'IEDULE “A” OF RELATED CASES:

 

 

 

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Ent€l’€d 01/11/16 12230:19

 

[OVER]
DiscLosURE oF RELATED cAsEs (coned)
3. CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE STILL PENDlNG: (YES/NO): [Ifclosed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refkr to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR’S SCHEI)ULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A’l’ OF RELATED CASES:

 

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will b`e required to tile a statement in support of his/her eligibility to i`lle.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastem District of New York (Y/N): Y 1

 
   

I certify
time, ex

 

 

Signature of`Beh,terrney Signature of Pro-se Debtor/Petitioner

 

Mailing Address of Debtor/Petitioner

 

City, State, Zip Code

 

Email Address

\_/

 

Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result. "

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230219

B2030 (Fonn 2030) (12/15)

United States Bankruptcy Court

Ea~g‘l’@l/V\ DistrictOf A/el,{) jDYk
Inre

A’\¥a Mu'r CaseNo. l(@ d
Debtor Chapter l 3
DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
l. Pursuant to ll U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), l certify that I am the attorney for the above
named debtor(s) and that compensation paid to me within one year before the filing of the petition in

bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
contemplation of or in connection with the bankruptcy case is as follows:

 

For legal services, I have agreed to accept ....... . ...................... $ 2 500' 00
Prior to the filing of this statement I have received . . . . . . . . . .~ .............. $ ii Q'S'D' o 0
Balance Due ...................................................... $ l‘ 160 'O 0

2. The source of the compensation paid to me was:

M§ebtor m Other (specify)

3. The source of compensation to be paid to me is:

i:i Debtor E/O'ther (specify) C& |'5 _WU$‘!'e/Q/

4. EZ{have not agreed to share the above-disclosed compensation with any other person unless they are
members and associates of my law finn

l:| l have agreed to share the above-disclosed compensation with a other person or persons who are not
members or associates of my law firm. A copy of the agreement, together with a list of the names of the
people sharing in the compensation, is attached.

5 . ln return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
case, including:

a. Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
file a petition in bankruptcy;

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

c. Representation of the debtor at the meeting of creditors and continuation hearing, and any adjourned
hearings thereof;

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230:19

B2030 (Form 2030) (12/15)

d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed] NDQC/

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

N/A'

 

  

 

Signature oTAtto

K\UA»CHM% ‘€e@

Name of law f rm

 

 

 

 

 

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entered 01/11/16 12230:19

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

X Chapter 13
IN RE:
MUIR, AIXA Case No.: 16-

Debtor(s). STATEMENT PURSUANT TO
X LOCAL RULE 2017

 

L Kiva James, an attorney admitted to practice in this court, state:

1. That I am an attorney for the above-captioned debtor(s) herein and arn fully familiar with
the facts herein.
2. That prior to the filing of the petition herein I rendered the following services to the

above named debtor(s):
DATE SERVICE
December 19, 2015 Inii:ial interview, analysis of financial
`~‘ condition, etc.
January 9, 2016 Preparation and review of the Bankruptcy

Petition

3. That I will also represent the debtor at the first meeting of the creditors, the confirmation
hearing and the loss mitigation hearing(s).

4. That all services rendered prior to the filing of the petition herein were rendered by
myself

    
    

5. That my usual rate of compensation for b ` type is $2500.00

Dated; 01/09/2016

    

 

A J , SQ

Attorney for the Debtor

344 Ave U Ste 628, Brooklyn, NY 11223
Phone; (347)764-2540 /Fax; (347)342-3197
kivaj amesesquire@hotmail.com

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entei’ed 01/11/16 12230:19

Fill in this information to identify your case: Check as directed in lines 17 end 21;

   

According to the calculations required by

 

 

Debtor1 Aixa Muir this Statement:
Hlst Name Middle Name Last Name ‘,
Debtorz ` l:| 1. Disposable income is not determined
(spsuse, iftiling) Fnerame Middle Name Last Name under 11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the: Eastem District of New York 2‘ Disp°sab'e in°°me is determined

under 11 u.s.c. § 1325(b)(3).

 

Case number 16' _ _ _
(lrknewn) |:l 3. The commitment period ls 3 years.

4. The commitment period is 5 years.

 

 

[] check if this is an amended nlan

Official Form 1220-1 _ _
Chapter 13 Statement of Your Current Monthly income
and Ca|culation of Commitment Period 12/15

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for being accurate. lf
more space is needed, attach a separate sheet to this fonn. lnclude the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).

-Calculate Your Average Monthly income

1. What is your marital and filing status? Check one only.
Net married Fill out column A, lines 2-11.

I:I Married. Fill durham columns A and B, lines 2-11.

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you tile this
bankruptcy case. 11 U.S.C. § 101(~10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. lf the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
the resu|t. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income

` - from that property in one column only. lf you have nothing to report for any line, write $0 in.the space.

» Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, smary, tips, bonuses, overtime, and commissions (before all

   

 

payroll deductions). ___OY $
3. Alimony and maintenance payments. Do not include payments from a spouse. $M $
4. All amounts from any source which are regularly paid for household expenses of

you or your dependents, including child support. lnclude regular contributions from

an unmarried paltner, members of your household, your dependents, parentsl and

roommates. Do not include payments from a spouse. Do not include payments you

listed on line 3. $ $
5. fl\;er:“income from operating a business, profession, or Debtor 1 . Debtor 2

Gross receipts (before all deductions) ' $-_- $_

Ordinary and necessary operating expenses _ $ - $

. . . Copy

Net monthly income from a business, profession, or farm $ 3’5(& $ here_) $ 3,500_00 $
6. Net income from rental and other real property Debtor 1 Debtor2 t

Gross receipts (before all deductions) $ $

Ordinary and necessary operating expenses - $ - $

Net monthly income from rental or other real property 3,0 a copy 3,000.00

$ $ here9 $ $

Official Form 1220-1 Chapter 13 Statement of Your Current Monthly income and Calculation of Commitment Period page 1

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16 Entei’ed 01/11/16 12230:19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Aixa Muir Case number (iio.own) 1 6'
Flrst Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
7. lnterestl dividends, and royalties $ O'OO $
8. Unemployment compensation $ 0'00 $
Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. instead, list it here: .......................................
For you $
For your spouse $
9. Pension or retirement income. Do not include any amount received that was a 0 00
benefit under the Sociai Security Act. $ ' $
10_ income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Sociai Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. lf necessary, list other sources on a separate page and put the
total below.
$ 0.00 $
s 0.00 $
Total amounts from separate pages, if any. + $ C.OO -|- $
11. Ca|culate your total average monthly income. Add lines 2 through 10 for each _
oolumn. Then add the total for column A to the total for column B. , $ 6»500-00 "` $ ' $ 61500-0€
Total average

monthly income

m Determine l-low to Measure Your Deductions from lncome

12. Copy your total average monthly income from line 11.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ 6,500.00
13. Ca|culate the marital adjustment. Check one:
You are not married. Fill in 0 below.
l:l You are married and your spouse is filing with you. Fill in 0 below.
You are married and your spouse is not filing with you.
Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
you or your dependents.
Below, specify the basis for excluding this income and the amount of income devoted to each purpose_ lf necessary.
list additional adjustments on a separate page.
lf this adjustment does not apply. enter 0 below.
$
$
+ $
0.00 __ . 0
Total $ copy hem 9 0 0
14. Your current monthly income. Subtract the total in line 13 from line 12. $ 6,500-00
15. Ca|culate your current monthly income for the year. Follow these steps:
153. copy line 14 here -) t 5 w
Multlply line 15a by 12 (the number of months in a year). " x 12
15b. The result is your current monthly income for the year for this part of the fonn. l $ 781000-00

 

 

 

 

 

 

 

Official Form 1220-1 Chapter 13 Statement of Your Current Monthly income and Ca|culation of Commitment Period page 2

 

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/1.6 Entei’ed 01/11/16 12230:19

Debtor 1 Aixa Muir

Case number rrimwni 1 6'
Firsl Name Middle Name Last Name

 

16. Ca|culate the median family income that applies to you. Follow these steps:
16a. Fill in the state in which you live. NY
1

16b. Fill in the number of people in your household.

16c. Fill in the median family income for your state and size of household. $ 49,028-00

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's oftice.

17. ch do the lines compare?

17a. l:| Line 15b is less than or equal to line 16c. On the top of page 1 of this forrn, check box 1 , Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable lncome (Official Form 1220~2).

17b. Line 15b is more than line 16c. On the top of page 1 of this forrn, check box 2, Disposable income is determined under
11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable lncome (Official Form 1220-2).
On line 39 of that forrn, copy your current monthly income from line 14 above.

mcalculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11. $ 6,500.00

19. Deduct the marital adjustment if it applies. lf you are married, your spouse is not filing with you, and you contend that
calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income. copy
the amount from line 13.

19a. lf the marital adjustment does not apply, fill in 0 on line 193.

 

_ $ 0.00

isn subtract line19a from line1a. $ 6,500.00

20. Ca|culate your current monthly income for the year. Follow these steps:

20a. Copy line 19b..

 

 

 

 

 

 

$_Q,MU
Multiply by 12 (the number of months in a year). X 12
20b. The result is your current monthly income for the year for this part of the form. $ 78,000_00
20c. Copy the median family income for your state and size of household from line 16c. 49 028_00

 

 

 

21. How do the lines compare?

l:l Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
The commitment period is 3 years. Go to Part 4.

Line 20b is more than or equal to line 20c. Unless otherwise ordered by the coult, on the top of page 1 of this forrn,
check box 4, The commitment pe fod is 5 years. Go to Part 4.

By signing here: uhf er enalty of erjury l declare that the information on this statement and' iri any attachments is true and correct.

x y x

 

 

    
 

\ignature 71 Signature of Debtor 2
Date ( Date
ivi /DD /'YYYY Mlvi/ DD /YYYY

lf you checked 17a, do NOT fill out or tile Form 1220_-._2.
lf you checked 17b. fill out Form 1220-2 and file it with this form..Q‘n line 39 of that forrn, copy your current monthly income from line 14 above.

 

 

 

 

 

Official Form 122C-1 Chapter 13 Statement of Your Cunen\Monthly lncome and Calculation of Commitment Period page 3

 

 

 

 

Case 1-16-40104-nh| DOC 1 Fi|€d 01/11/16 Ent€i’ed 01/11/16 12230:19

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re:

Aixa Muir
Case No. 16-

Chapter 13

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

 

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that
the creditor matrix/list of` creditors Submitted herein is true and correct to the best of his or her
knowledge

Dared: //7/29{[9

 

 

 

` t D btor

 

Case 1-16-40104-nh| DOC 1 Filed 01/11/16

Aames Home Loan l
4282 North Fwy
Ft Worth, TX 76137

Armando L Muir
47 Debevoise St Unit60563
Brooklyn, NY 11206

Chase Bank
270 Park Ave
New York, NY 10017

Deutsche Bank National
350 South Grand Ave
Los Angeles, CA 90071

Law Offices of Jordan S Katz
395 N Service Rd Ste401
Melville, NY 11747

Nati onstar Mortgage
8950 Cypress Waters Blvd
Coppell, TX 75019

chen Loan Servicing LLC
1661 Worthington Rd Ste100
West Palm Beach, FL 33409

Ent€i’ed 01/11/1612230219

 

